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              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


KENDON AUSTIN, Individually
and on behalf of all Others similarly
situated,

Plaintiff,
                                            Case No:
                                            216(b) Collective Action
v.

N3 LLC d/b/a N3 RESULTS; and
ACCENTURE LLP,

Defendants.


COLLECTIVE ACTION COMPLAINT FOR VIOLATIONS OF THE
OVERTIME WAGE SECTION OF THE FAIR LABOR STANDARDS
                    ACT (FLSA)


       Plaintiff, KENDON AUSTIN, individually and on behalf of all other

similarly situated persons employed as inside sales representatives (“ISR”)

from the period of April 2018 through the present who consent to their

inclusion in this collective action herein sue Defendants: N3 LLC, d/b/a N3

Results, and its parent corporation and joint employer, ACCENTURE LLP,

(hereinafter referred to collectively as “N3”, or Defendants), pursuant to 29

U.S.C. § 216(b), of the Fair Labor Standards Act (the "FLSA") and state as


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follows:

                         RECITATION OF FACTS

       1.     The Plaintiff and the class of similarly situated current and

former insides sales employees worked for Defendants under the various job

titles of:   Business Development Representative (I, II or III) (BDR), Sales

Opportunity Manager (SOM) or Inside Sales Opportunity Manager (ISM),

Customer Success Manager CSM), Business Development Manager (BDM),

PDM, Account Manager, Account Development Representative, Sales

Consultant, Pipeline Manager, Tele Territory Channel Manager, Solutions

Consultant, Account Development Rep, Account Executive, Sales

Development Manager (SDR), Sales Consultant, or other various job titles

who performed substantially the same job of an inside sales representative

(“ISR”).

       2.      The ISR’s primary function was to use telecommunications

such as telephones, emails and technology to either develop warm business

leads for N3 clients or to directly sell the client’s business services and

offerings to businesses and commercial enterprises from call centers or from

remote home locations.

       3.     The Plaintiff, and the putative class of similarly situated

employees were not compensated for all hours worked over 40 in each and

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every work week, and were permitted to suffer to work off the clock in

violation of the FLSA or alternatively; the Plaintiff and putative class

members were unlawfully misclassified as exempt employees in violation of

the FLSA.

      4.     Further, even when Defendants did pay a premium for some

overtime hours worked, they willfully underpaid ISR by failing to include the

value of earned bonuses in the calculation of overtime as required by the

FLSA.

      5.     Defendants have improperly and willfully withheld and refused

to pay Plaintiff and all ISRs overtime wages and premiums for overtime hours

worked and in violation of federal law. Defendants’ employment and payroll

records will demonstrably show that Plaintiff, and all ISRs were actually

hourly, non-exempt employees such that Defendants cannot now and should

not be able to claim any exemption to overtime pay, and that Defendants knew

that their failure to pay overtime wages to ISR was a willful violation of the

FLSA.

      6.      At minimum, Defendants acted with reckless disregard for their

obligations to pay ISR overtime premiums for all hours worked, and failed to

accurately track and record ISR’s work hours pursuant to federal regulation

29 C.F.R. § 516.

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      7.      Defendants knew or should have known that ISRs fail the short

test for the executive exemption since they do not supervise two or more full

time employees, and their primary job duties are non-exempt sales duties and

not management of the business or enterprise nor any department of

Defendants.

      8.      Defendants knew or should have known that ISRs do not meet

the administrative exemption, as their primary job duty does not in involve

the use of discretion and independent judgment in matters of significance

affecting the company and its management; and that their primary job duty is

production and sales, typically non-exempt under the FLSA and as concluded

by the DOL regulations and the DOL field operations handbook..

      9.      Defendants knew or should have known that ISRs are clearly not

outside sales representatives; nor do they meet the § 7(i) exemption. ISRs

clearly do not sell retail or retail services, and none of the ISR earned bonuses

or commissions which ever exceeded or equated to 51% or more of their total

compensation for a representative period.

      10.     Defendants have a comprehensive lead generation system such

that inside sales representatives do not have to solely rely upon their own

contacts and sources to generate sales.

      11.     Defendants absolutely know that inside sales representatives

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(ISR) routinely worked overtime hours, as managers and supervisors

witnessed the extra hours, managers and company officials saw and knew that

ISR were accessing telephone systems, CRM databases, emails, and engaged

in computer demonstrations outside the standardized mandatory corporate

schedule.

      12.      Defendants dangled carrots for ISR to advance by publishing and

comparing sales production and Key Performance Indicators (KPI), praising

the top performers while denigrating the lower performers such that ISRs were

pressured to work extra hours to hit sales goals, quotas and KPI to avoid

termination.

      13.      Further, Defendants willfully discouraged ISRs from reporting

overtime hours by both misleading Plaintiffs to believe they were salaried

exempt employees and secondly by warning of disciplinary action if the ISR

clocked in more than 40 hours on their time records.

      14.      Defendants have willfully failed to pay Plaintiffs and all

similarly situated employees in accordance with the Fair Labor Standards Act

(FLSA). Specifically, Plaintiffs and similarly situated employees were not

paid time and a half of their regular rate pay for all hours worked in excess of

forty (40) hours per week, nor paid any premium for the overtime hours

worked. Plaintiffs and the class of similarly situated employees did not and

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currently do not perform work that meets the definition of any exemption

under the FLSA, and the Defendant’s pay practice are not only unfair, but

unlawful under the FLSA.

      15.    In this pleading, the term “Inside Sales Representative” means

any employee of Defendants working under the various titles of: Business

Development Representative (I, II or III) (BDR), Sales Opportunity Manager

(SOM) or Inside Sales Opportunity Manager (ISM), Business Development

Manager (BDM), PDM, Account Manager, Account Development

Representative, Sales Consultant, Pipeline Manager, Tele Territory Channel

Manager, Solutions Consultant, Account Development Rep, Account

Executive, Sales Development Manager (SDR) Sales Consultant or any other

title used by Defendants to describe workers who perform substantially the

same work as an inside sales representative (discovery may reveal additional

job titles and employees that should be included). Inside Sales representatives

in this class make predominantly spend their days making outbound (cold

calls), and some inbound phone calls, email solicitations, researching the

internet and either making internet presentations or demonstrations and

consummate sales of new products or cloud applications, the sale of services

for customers or clients of Defendants such as Microsoft, Iron Mountain,

Equifax, Ubereats, or Toshiba.

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      16.    In this pleading, “Defendants” or “N3” means the named

Defendants and any other subsidiary or affiliated and wholly owned

corporation, organization or entity responsible for the employment practices

complained of herein, (discovery may reveal additional Defendants that

should be included).

      17.     The allegations in this pleading are made without any admission

that, as to any particular allegation, Plaintiff bears the burden of pleading,

proof, or persuasion. Plaintiff reserves all rights to plead in the alternative.


                            Jurisdiction & Venue


      18.    This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §1331, because this action involves a federal question

pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216 (b).

      19.    This Court is empowered to issue a declaratory judgment under

28 U.S.C.§§ 2201 and 2202.

      20.    This Court has personal jurisdiction over the Defendants,

because the Defendants operate substantial business in Atlanta, Fulton

County, Georgia and the damages at issue occurred within this District, where

Defendants maintained an office throughout the relevant time period.

      21.    Venue is proper to this Court pursuant to 28 U.S.C. Sec. 1391(b)

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because the Defendants reside in this district and because a substantial part of

the events giving rise to the claims occurred in this District as Plaintiff was

hired from, supervised from and his work was directed by officers and

managers from the Atlanta office.

      22.    The overtime wage provisions set forth in FLSA §207 apply to

Defendants, as all Defendants collectively engage in interstate commerce

under the definition of the FLSA. Indeed, at all relevant times, Defendants

engaged in interstate commerce and/or in the production of goods for

commerce within the meaning of FLSA Sec. 203 as a common business

enterprise. Additionally, Defendants earned more than $500,000 in revenue

during the years 2018 to 2020 and would so in 2021 as well.


                                 The Parties

Representative Plaintiff, KENDON AUSTIN

      23.    Kendon Austin resides in Atlanta, Georgia. He was first hired to

work for Defendants through a temporary agency, Robert Half, beginning in

April 2017. He was hired in a wave with numerous other ISR, all of whom

started out under the job title of Business Development Representative (BDR).

      24.    At all times material, Plaintiff worked as an ISR from the

Defendant’s Atlanta, Georgia office. Plaintiff’s work was highly supervised,

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micro-managed, and scrutinized on a daily basis by management in Atlanta,

Georgia, from the Atlanta office located at 6120 Powers Ferry Road, Suite

300, Atlanta, GA 30339-2982.

      25.    In January 2018, Plaintiff became a direct hire employee of N3.

Thereafter, sometime later in 2018 Plaintiff given or provided a job title of

Customer Success Manager. Manager (CSM).

      26.    Regardless of the job title, the primary duties and responsibilities

were essentially unchanged and no written job description was provided to

Plaintiff for the CSM.

      27.    Despite being given a title that included the words “manager”

Plaintiff had no role in supervising or directing the work of BDR or any other

employees.

      28.    Further, Plaintiff’s, his primary job duties were to develop leads

for the N3 Client, such as Microsoft, by making outbound telephone

solicitation calls, sending out solicitation emails, and to develop Microsoft

customers who were receptive to discussions about purchasing new or

additional products and services of the client, including Microsoft.

      29.    Plaintiff, like all other ISR, was required to meet certain metrics

which gauged his performance and determined whether he would continue to

have a job. These metrics were called Key Performance Indicators (KPI) and

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included making a certain number of telephone calls, and setting a specific

number of appointments for the client involved, in attempts to finalize and

close a sale of products or services.

      30.    Plaintiff further engaged in basic customer service and typical

non-exempt work duties, all of which were conducted from a call-center, with

ISRs lined up desk by desk.

      31.    When hired, Plaintiff, like all other BDR was led to believe the

position was a 40 hour per week job, and that he was being paid on a “salary

basis” plus the eligibility to earn a monthly or quarterly bonus based upon

hitting KPI or other threshold sales goals.

      32.    Plaintiff earned a bonus, which was always for him and all other

ISR, a very small percentage of their overall income.

      33.    Defendants also lead Plaintiff to believe that he was exempt from

overtime as a salaried/bonus employee, telling him that no matter how many

overtime hours he worked he would not be paid a premium for these hours,

and to otherwise not worry about the extra overtime hours worked or the lack

of premium pay.

      34.    Defendants also discouraged Plaintiff and all other ISR from

complaining about not being paid for overtime hours worked and for not being

able to report and clock in all hours worked by telling them to focus on earning

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their bonuses, hitting their KPI and to be thankful they had jobs.

      35.    Plaintiff, like all ISR, including BDR, SOM, CSM etc., was

assigned to work on a designed N3 client account called a “campaign”. The

campaign meant there was some contractual arrangement between N3 and a

business or corporation which hired N3 to engage in sales solicitations of

existing or potential new customers.

      36.    Each campaign was assigned a team of ISR to commence with

calling and emailing of businesses (also referred to as “accounts” or

“opportunities” and their employees from a source or pool of leads and to

commensurate sales thereby turning the opportunity into an account.

      37.    For some ISR, the work involved setting up demonstrations or

setting up appointments for other persons to attempt to negotiate and close

deals, and also included aspects of customer service.

      38.    Plaintiff’s primary job duty was not the closing of a sale, but the

act of telephoning and emailing the potential customers and developing warm

leads for the client’s own sales employees to attempt to close sales or upsell,

as N3’s business focus and the manner in which it was paid was strictly

dependent upon the number of phone calls made, not the dollar value or

revenue generated by the ISR.

      39.    All ISR were compensated on a base hourly rate plus a monthly

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bonus payment, either based upon hitting a percentage of goal of reaching key

performance indicators (KPI) such as number of dials, number of emails, and

number of appointments; or a monthly sales bonus based upon the revenue

generated.

      40.    All the ISR sales work and communications with customers and

was conducted within the offices of Defendants, or, as COVID-19 hit,

working remotely from their homes but still reporting to the respect offices

and managers.

      41.    Plaintiff was paid a base hourly rate of pay, and was classified

by N3 as “EXEMPT” under the FLSA; at least that is what Plaintiff was

willfully misled to believe at his hiring.

      42.    Upon information and belief, sometimes Defendants did permit

and authorize directly ISR to work overtime during certain periods of time,

and to which they paid the ISR a premium for overtime, thus demonstrating

and confirming ISRs were actually non-exempt employees.

      43.    All inside sales representatives were paid pursuant to the same

common pay plan: a base hourly rate quoted in annual sums to the employees,

and eligibility for monthly bonuses or commissions on a sliding scale

depending upon reaching the maximum target goal of 100%, and decreasing

as the producing met less than 100% of the goals, or alternative with some

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multiplier based upon the production.

      44.   Plaintiff, like all ISR in the Atlanta office, was given a set weekly

corporate schedule of 45 hours per week, 9 hour days with opportunity to take

up to a 1 hour meal break.

      45.   Plaintiff routinely worked through much of his 1 hour meal

break, including working while eating at his desk, or taking a short break to

eat and continuing back to work.

      46.   At no time did Defendants explain that working through this 1

hour provided meal break was compensable overtime work hours and which

could be claimed and paid.

      47.   Plaintiff also found it necessary to stay after the ending shift time

and put in additional work hours to complete his job duties and to meet KPIs.

      48.   Plaintiff similarly performed work on weekends using his laptop,

and answering emails, and such work was not foreclosed, prohibited or

discouraged by Defendants. Moreover, management knew of and encouraged

ISRs to perform work outside the office.

      49.   Plaintiff, and all other similarly situated employees are currently

now or have previously been covered under FLSA §207 as employees.

      50.   Plaintiff routinely worked more than 40 hours in his workweeks,

with the knowledge of Defendants, and was never disciplined or warned for

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doing so, nor was he paid a premium for all such overtime hours worked.


The Defendants

       51.   ACCENTURE LLP is a wholly owned subsidiary of

ACCENTURE PLC, a publicly traded (ACN) foreign (UK) international

corporation, and Fortune 500 company conducting business in the U.S.

through its North America Corporate office located in Chicago, Illinois, and

selling consulting and processing services. Accenture LLP has a principal

place of business for all North America at: 161 North Clark Street Chicago,

IL 60601 United States. At all times material hereto, Accenture operated from

its fixed offices in Atlanta, Georgia located at 3565 Piedmont Rd NE building

3 suite 650, Atlanta, GA 30305, and may be served through its registered agent

for service of process, at CORPORATE CREATIONS NETWORK INC.;

2985 GORDY PARKWAY, 1ST FLOOR, Marietta, GA, 30006, USA.

       52.   Upon information and belief, Defendant ACCENTURE LLP is

a Joint employer within the meaning and definition of the FLSA as it created

and enforces the unlawful pay practices complained of as well as manages and

oversees its wholly owned subsidiary, and co-defendant, N3’s operations and

employment practices at its North American operations offices in Chicago,

Illinois.


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      53.   Defendant N3 LLC is a U.S. based company, and wholly owned

subsidiary of ACCENTURE LLP, with a principal office located at 3565

Piedmont Rd NE building 3 suite 650, Atlanta, GA 30305. Defendant may

be served through its registered agent CORPORATE CREATIONS

NETWORK INC.; 2985 GORDY PARKWAY, 1ST FLOOR, Marietta, GA,

30006, USA.

      54.   As stated by Defendants on their 2019 10k, Annual Report,

“Accenture is one of the world’s leading professional services companies with

approximately 492,000 people serving clients in a broad range of industries

and in three geographic regions: North America, Europe and Growth Markets

(Asia Pacific, Latin America, Africa and the Middle East)”.

      55.     Defendants N3 “is an outsourced Inside Sales firm”, as stated

on its website. https://n3results.com/company/.

      56.   Inside Sales representatives (ISR) primarily worked from

physical offices, including Atlanta, Georgia, and South Charleston, West

Virginia, but upon information and belief, as of the Covid-19 pandemic, have

primarily been reassigned and recruited to work remotely.

      57.   Defendants N3 LLC and Accenture LLP are employers within

the definition of the FLSA, as they both have revenues exceeding $500,000

annually in all applicable time periods, are involved in interstate commerce,

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and employ thousands of employees across the U.S.

      58.    Upon information and belief, at peak times within the preceding

3 years of the filing of this complaint, Defendants employed in the Atlanta

and South Charleston offices, upwards of 300 or more inside sales

representatives, as well as ISR in New York, Texas and other states.

      59.    Given turnover, Plaintiff estimate that the putative class of

similarly situated inside sales representatives to be in the range of 2000

persons who worked as ISR within the preceding 3 years from the filing of

this complaint, including 300 alone at any given time just in Georgia and WV.

The class size of ISR in the Atlanta office, upon information and belief is in

the range of 500 for the relevant 3 year class period

      60.    N3 was Plaintiff’s employer within the meaning of 29 U.S.C. §

203(d), and after the purchase of N3, Plaintiff and all those similarly situated

are paid by and performed work for Accenture LLP.

      61.    Accenture LLP is a joint employer, and as a purchaser of N3

LLC, is liable for all FLSA overtime claims of the Plaintiff and those

similarly situated as a successor pursuant to federal case law.


                          General Factual Allegations

      62.    This collective action arises from an ongoing, longstanding,

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wrongful scheme by Defendants to willfully underpay and refuse to pay

overtime wages to a large class of workers, the inside sales representatives,

who Defendants knew, and knows still up through the filing of this complaint,

routinely worked overtime hours without being paid.

      63.    Defendants unlawful pay practice applicable to all inside sales

representatives permitting non-exempt, hourly paid commissioned employees

to suffer to work overtime hours without being paid a premium through a De

Facto unwritten rule and unlawful turning a blind eye to the overtime hours

of the inside sales reps was designed to save many millions of dollars in labor

costs and decrease expenses, all to the detriment of its inside sales

representatives.

      64.    Defendants no doubt made a calculated, willful decision to refuse

to pay overtime wages under the risk that even if someone or many eventually

made a claim for overtime wages, they would have benefited financially from

the additional work hours in terms of increased sales, and the fact that the

statute of limitations would run on claims before many would even assert their

rights under the FLSA.

      65.    Despite being an international, publicly traded corporation, with

employees throughout the United State of America, including numerous

attorney’s and general counsel relationships, and having operated in the US

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and subject to the requirements of the FLSA for perhaps decades, Defendants

have blatantly, and willfully violated the FLSA by: a) willfully refusing to

pay overtime wages when they knew and were aware of employees working

overtime hours; b) willfully permitting ISR, who Defendants knew or should

have known were non-exempt employees, permitted them to suffer to work

off the clock without being paid the proper and lawful premium for all hours

worked over 40 in each and every work week; c) willfully underpaid ISR even

when paying overtime wages by failing to include bonuses in the regular rate

and premium rates of payment of overtime wages; d) forcibly and deceptively

mandated each ISR deduct 1 hour from their day for meal breaks even when

ISR were working through some or all meal breaks and regardless of this fact;

and d) misleading ISR for falsely claiming and representing that they were

exempt from overtime or alternatively by deterring and discouraging reporting

of overtime hours on time records..

      66.    The FLSA does not require employees to have to “claim” or

submit a claim for overtime hours as a condition for being paid for these hours,

especially where the Defendants know, or should know, that employees are

working overtime hours.

      67.    Here, Defendants have maintained for many years the

application of a blind ignorance policy, and De Facto off the clock policy, and

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have throughout the preceding 3 years of the filing of this Complaint and

currently as well, been well aware of their inside sales representatives,

including Plaintiffs, routinely working overtime hours without being paid for

all hours worked.

THE PUTATIVE CLASS

      68.    Plaintiffs bring this suit individually, and on behalf of all

similarly situated persons composed of the following Class members:

PROPOSED PUTATIVE CLASS:

All person working as inside sales representatives (ISR) under the titles
of: Inside Sales Opportunity Manager (SOM or ISOM), Business
Development Representative (BDR, I,II or III), PDM, Account Manager,
Account Development Representative, Sales Consultant, Pipeline
Manager, Tele-Territory Channel Manager, Customer Success Manager
(CSM), Solutions Consultant, Account Development Rep, Account
Executive, Sales Development Manager (SDR) Sales Consultant,
Business Development Manager (BDM), or any other job title used to
describe persons whose primary job duty was inside sales, who are
currently employed or were previously employed with N3 LLC d/b/a N3
Results or Accenture LLP dba N3 Results within the U.S. within the past
three years preceding the filing of this lawsuit.

COLLECTIVE FACT ALLEGATIONS

      69.    At the time of this filing, numerous other members of the putative

class seek to join this action and demonstrate that there are others similarly

situated who seek to join and claim their overtime wages.

      70.    Plaintiff is able to protect and represent the Collective or putative


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Class or classes, and are willing and able, and consents to doing so.

      71.    Plaintiff is a proper Class representatives of all those similarly

situated as he was employed by Defendants under the titles of Business

Development Representative (BDR), and later or simultaneously as Customer

Success Manager (CSM) during his employment, and because: a) he solicited

to sell N3 customer’s services and cloud applications; b) he was paid under

the same common pay structure/plan applicable to all other inside sales

representatives: a base hourly rate, with monthly bonuses and treated as

exempt under the FLSA; c) he routinely worked overtime without being paid

a premium for the hours worked, and d) is familiar with Defendants’ policies,

procedures and unlawful pay practices.

      72.    Upon information and belief, Defendants may also now have, or

had within the relevant 3 year class period, employed other sales

representatives working from their homes or other offices in other states,

which discovery may reveal all as well subject to a single common unlawful

pay practice and the same job requirements.

      73.    Upon information and belief, the inside sales representatives in

the Atlanta and South Charleston offices, and in all other present and former

offices and remote locations across the U.S., including NY, Texas working

under the various titles are all paid under a common pay plan and all were,

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subject to the same job requirements, and all were performing their job duties

in similar manners pursuant to shared company policies and procedures.

       74.    Defendants’ job offer letters to inside sales representatives also

demonstrate a common pay plan for inside sales reps: a base pay, treatment

as non-exempt, and a monthly percentage to goal bonus plan.

       75.    Similarly, all are inside sales representatives were placed in

groups, and assigned a supervisory sales manager to report to, and all inside

sales representatives were expected and required to perform their job duties

and requirements according to the same national standards and uniform

policies and procedures set by the Defendants applicable to all inside sales

representatives, aside from any variances due to the specific products or cloud

services for the respective customer’s produced and services the ISR were

soliciting for.

       76.    All inside sales representative within this class described herein

and working in both officers are now, and were treated as hourly, non-exempt

employees, or salaried exempt employees without the Defendants ever taking

any individualized analysis of the employees’ actual work performed under

the FLSA testing the application of any exemptions relied upon.

       77.    Defendants policy and procedure as explained to Plaintiffs and

all other inside sales representatives, was that if they wanted to be paid for

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overtime hours, they had the obligation to track and record their own overtime

hours, and, they had to courageous enough to dare submit it to management

for payment, understanding that doing so would draw the ire of management.

         78.   Defendants failed to advise Plaintiff and all ISR that as per the

FLSA, a meal break which is not at least 30 minutes of “uninterrupted, non-

work activity break” is to be counted as work hours and to be reported and

paid, compensable time, even if doing so put the employee into overtime

hours.

         79.   Defendants also advised and warned that overtime work had to

be “authorized”, yet, all were pressured to work as many hours as needed to

hit goals or quotas, and meet KPI, and pressured to do so under fear of

termination of employment.

         80.   All inside sales representatives were purposefully mislead to

believe by Defendant that they were not legally entitled to overtime wages

unless: a) they tracked the time and b) made a request for payment, despite

the FLSA requirements that employers are obligated to pay its non-exempt

employees a premium for overtime hours worked when they know or should

have known of the hours worked.

         81.   Defendants also willfully misled employees that they were

salaried exempt employees and thus simply by that fact would not be paid for

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overtime hours and that the tracking of their work hours was not required nor

necessary.

      82.    Plaintiff, like otter ISR, understood the De Facto policy was to

work off the clock and not clock in until 8:30 am, automatically report 1 hour

for lunch and deduct 1 hour from their 9 hour work day, and clock out at

5:30pm and continue to work off the clock.

      83.    Upon information and belief, whenever Plaintiff and all other

inside sales representatives worked prior to the scheduled shift time, stayed

after the shift time ended, or worked through any meal breaks, Defendants

monitored, tracked and was fully aware of all employees exceeding 40 work

hours, and even encouraged the additional work hours viewing such ISR as

“go-getters”.

      84.    Upon information and belief, Defendants paid each employee the

same biweekly base pay as a salary, regardless of the actual hours worked

even when under 40 hours, such as 39 or 38, etc. such that Plaintiff and all

other ISR were under the impression they were treated as salaried employees.

      85.    Defendants paid inside sales representatives either every 2

weeks, and paid out bonuses or commissions at the end of the month under a

plan in which the base pay would always exceed the amount of bonuses.

      86.    Thus, although Defendants did not actually institute a dedicated

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specific time tracking system, time clock or program just for the purpose of

tracking employees work hours, (and clearly not one any employee could ever

specifically and exactly know when they were reached the 40 hour mark

during a work-week such that they would be entitled to overtime pay), through

the telephone login system, computer logins and other visual assessments,

Defendants clearly knew which employees were working overtime hours and

more hours than reported on time records.

      87.    Plaintiff, like all inside sales representatives, were assigned a

corporate, standardized 45-hour per workweek shift, with 9 hour work days,

starting at 8:30 to 5:30 pm, Monday Through Friday or similar 45 hour

schedules, Monday to Friday, which varied if calling on west coast or

international businesses.

      88.    Inside sales representatives could not and did not just come and

go as they pleased, like salaried employees, and were subject to discipline if

late, left early or took extended breaks during the day or chose to work less

than at least 40 hours each week.

      89.    Defendants even mandated that ISR report 40 hours on time

sheets.

      90.    Defendants operated and managed the inside sales representative

in a boiler-room type, highly pressurized and oppressive micro-management

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style, and assessing their performance based upon minimum number of

telephone calls in a day (60 at times), and the overall sales production quotas

such as number of appointments.

      91.    The Defendants maintained a company-wide policy throughout

the relevant 3 year class period of willfully refusing to pay overtime wages or

any premium pay for overtime hours worked for inside sales representatives

despite, clear knowledge inside sales representatives have worked and

continuing to work overtime hours, and as classified under the FLSA, non-

exempt employees automatically due such wages.

      92.    Upon information and belief, all inside sales representatives are

supervised by team leaders and other managers, who very closely monitor

performance, scrutinize sales representatives and their performance, metrics,

such as phone calls and production and report results to the corporate office

under a structured, corporate controlled manner, and all of whom had

knowledge of their teams working overtime hours.

      93.    Defendants operate a micro-management policy for all inside

sales representatives, and they are warned weekly and monthly that their

failure to meet sales or production quotas or goals, and telephone call quotas

places them on immediate disciplinary action and jeopardy of eventual

termination of employment.

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      94.    Defendants constantly pressured, intimidated and coerced

Plaintiffs and all indies sales representatives to work as many hours as

necessary to meet quotas, and goals, daily telephone call requirements under

threats of formal discipline and termination of employment.

      95.    Defendants also discouraged Plaintiff and other ISR from

making claims for overtime or reporting more than 40 hours in their weekly

time sheets, and from presenting accurate time records. Some managers

simply filled in 40 hours for ISR.

      96.    Defendants maintained a De Facto off the clock policy (although

there technically was not a time clock system), in which inside sales

representatives were told to focus on their bonuses rather than any overtime

pay requirements of the FLSA, and placing them in fear of discipline and

termination if they ever dared to submit a claim for overtime wages.

      97.    All were told that overtime hours had to be approved in advance,

yet, when Plaintiff and other inside sales representatives worked over 40

hours, they were not disciplined for doing so despite Defendants monitoring

of their login and logout times on the telephone system. Managers did not

walk around and tell employees to leave when they hit their 40 hours, or were

working late.

      98.    Plaintiff DOE had to routinely communicate with customers in

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the western time zones, and at times, was forced to work until an hour or more

beyond his ending shift time on demonstrations, meetings and calls, and

sometimes skype video calls. Such additional work hours were expected to

be worked by management.

      99.    Further, at any given time, one or more managers readily

observed and could observe inside sales representatives working before and

after the scheduled shift time thus placing them on notice of inside sales

representatives likely to incur and be entitled to overtime pay. Defendants

simply turned a blind eye.

      100. At no time during the relevant 3 year time period did Defendants

formally discipline inside sales representatives for working off the clock

overtime hours.

      101. All inside sales representatives followed standardized company

policies and procedures applicable to all, and aside from variances in the

communications related to the specific products they were selling, all had

uniform, standardized and common job requirements for working as inside

sales representatives.

      102. The inside sales reps, including Plaintiff and the classes of

similarly situated employees all made primarily outbound calls to sell the N3

client’s products and services to businesses and professionals from their desks

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and with demonstrations on the web.

         103. The actual job requirements performed by the proposed class of

Inside Sales Representatives do not satisfy the elements of any exemptions

within FLSA §213, whether as Sales Opportunity Managers, Customer

Success Managers, BDR/BDM or any other titles used to describe similar

roles.

         104. All ISR performed routine jobs whose primary job duty was

production, setting and attending appointments and making the sales pitches

and demonstrations of the products and services, to upsell or obtain renewals

for both assigned accounts any leads given to them by management to

communicate with.

         105. Plaintiff, as well as the members of the putative class of similarly

situated employees, routinely worked through part or all of their lunch breaks,

and also performed other work incidental to their job at home.

         106. Many sales calls and demonstrations had to take place in the

evening hours to accommodate business owners and their officers, especially

those on the western time zones, so as not to disrupt their business during

standard daily working hours.

         107. Pursuant to FLSA §207, Defendants, as the employer of Plaintiff

and the class of similarly situated employees, were and is currently required

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to pay an overtime premium at one and one-half times each employee's regular

rate of pay hourly rate for hours worked in excess of forty (40) hours per week,

which must include the value of bonuses or commissions earned in the

calculations.

      108.      Defendants clearly knew or should have known, that these inside

sales representatives do not satisfy any exemption, specifically: a) they fail

the executive exemption as they do not supervise other employees, b) fail the

administrative exemption as their primary job duty is sales and production,

and does not involved the exercise of discretion and independent judgment in

matters of significance affecting the company; and c) clearly are not outside

sales representatives or engaged in retail sales; d) are not professionally

exempt as the position does not require specialized education and training; e)

are not subject to any FLSA exemptions because and do not regularly perform

exempt duties of an executive, administrative or professional employee.

      109. Moreover, having been operating sales departments and

numerous offices in the US, has known of and clearly has been aware of

lawsuits against other large companies for not properly compensating inside

sales representatives properly pursuant to the FLSA.

      110. The offices did not mandate logging in and out for lunch or meal

breaks and the company automatically deducted 1 hour for breaks regardless

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of knowledge the employee was working through some or all of their meal

breaks and logged into the telephone system.

      111. In order to meet sales quotas and KPI, and maximize their bonus

pay, Plaintiff and other sales representatives would routinely work as many

overtime hours as they wished with the full knowledge, approval and

encouragement of sales Managers/Directors and officers of the Defendants.

      112. Defendants made known the employees who were not hitting

quotas and KPI and observed numerous employees including themselves

being terminated for allegedly not meeting sales goals and quotas.

      113. Defendants also were and are aware, that in order for inside sales

representatives to meet or his 100% of the goals and KPI, inside sales

representatives routinely had to work over 40 hours each week, and that the

ISR positions were not a 9-5, 40 hour per week position.

      114. Inside sales representatives were warned when falling short of

quotas and or KPI, that their jobs could be terminated and encouraged to work

as many hours as necessary and possible to hit goals and quotas.

      115. Defendants unlawfully placed the onus and obligation on the

employee to actually submit and request payment for the overtime hours

worked, meanwhile discouraging reporting the overtime hours worked.

      116. Defendants did not maintain accurate and reliable time records,

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as ISR were instructed to submit just 40 hours on the time sheets when turning

them in or presenting to Defendants on weekly and bi-weekly basis.

         117. Defendants’ representations and communications to employees

about the company’s obligations under the FLSA and the employees’ rights

to overtime pay were false and intentionally misleading, as well as unlawful

and unfair, as was the entire De Facto overtime policy and failure to track and

record on a timekeeping system the employees accurate and actual work

hours.

         118. All inside sales representatives were trained to perform their job

duties and expected to perform their job duties in similar manners throughout

their multiple offices, aside from the variances for the separate product lines.

         119. All inside sales representatives attended sales meetings during

which the Defendants went over new procedures, policies and sales protocols

and was clear to Plaintiffs, applied to all inside sales representatives employed

by the Defendant.

         120. Defendants should be well aware that the FLSA requires the

regular rate of pay calculation to include not only the base pay, but the bonuses

and commissions in the calculation; thus the overtime rates of the Plaintiffs

class must be based upon not just the base salary, but the commissions and

bonuses as well. See FLSA sections 778.108, 778.117, 778.208, 778.209.

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      121. Evidence reflecting or demonstrating the precise number of

overtime hours worked by Plaintiff and every member of the Class, as well as

the applicable compensation rates, is in the possession of Defendants.

      122.   However, and to the extent ESI records are unavailable,

Plaintiff, and members of the Class, may establish the hours they worked

solely by their testimony and the burden of overcoming such testimony shifts

to the employer. Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946).


                        COUNT I
 FLSA VIOLATIONS OF FLSA §207 AND DECLARATORY ACTION
       PURSUANT TO 28 U.S.C. SECTIONS 2201 and 2202

      123. Plaintiff alleges and incorporates by reference all preceding

paragraphs of this Complaint and fully restate and re-allege all facts and

claims herein.

      124. Defendants have willfully and intentionally engaged in a

common company pattern and practice of violating the provisions of the

FLSA, by failing to compensate all inside sales representatives as required

pursuant to the FLSA’s overtime wage provision, Section 207.

      125. Plaintiff and the proposed class of similarly situated, comprised

of all current and former persons who worked for Accenture d/b/a N3, or N3

LLC dba N3 Results as inside sales representatives, were denied overtime


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compensation pursuant to FLSA §207 as required to be paid by Defendants

for all hours worked over 40 in each and every work week.

      126. Plaintiff and all those similarly situated are employees of

Defendants during their time as contemplated by 29 U.S.C. § 203.

      127. Defendants do not, and cannot have a good faith basis for failing

to pay Plaintiffs and the class of inside sales representatives overtime pay,

particularly here when they knew inside sales representatives were working

overtime, and discouraged and placed the obligation upon the inside sales reps

to formally make a claim for overtime pay.

      128. Further, Defendants were aware and clearly knew Plaintiff and

the inside sales rep position was a non-exempt position, subject to the time

tracking requirements of the FLSA, and automatically required to pay any

non-exempt employee overtime premium when they knew or should have

known such employees worked any time over 40 hours in a work week.

      129. Plaintiff, and the class of similarly situated, are thus entitled to

an equal sum in overtime wages owed at rates of one and one half times their

regular rates of pay as liquidated damages. See Johnson v. Big Lots Stores,

Inc., 604 F.Supp.2d 903 at 925 (E.D. La. 2009).

      130. Defendants knowingly and willfully failed to track the hours

worked by Plaintiffs and the class of similarly situated employees, composed

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of the Plaintiffs Class in violation of the FLSA and 29 CFR Part 576.

      131. Defendants suggested, encouraged and requested that all inside

sales representatives work as many hours as they could to meet or exceed sales

goals and KPI as long as they did not report more than 40 hours without prior

approval, but meanwhile had direct or constructive knowledge of inside sales

representatives working overtime hours yet willfully chose not to compensate

Plaintiff and the class of similarly situated.

      132. Again, the FLSA requires Defendants to pay the overtime wages

when they know employees “worked” over 40 hours in any work week, and

does not permit an employer to escape or nullify its obligations by placing the

duty on the employee to formally submit the hours and make a claim for

overtime pay.

      133. Regardless, the entire company policies and procedures related

to work hours are oppressive, misleading and intended to discourage and

prevent inside sales representatives from ever making a request or claim for

overtime pay due to fear and intimidation of being terminated from

employment.

      134. Defendants made clear to the inside sales representatives that

they were not going to be paid overtime wages and that requesting such was

going to subject them to heightened scrutiny, discipline and potentially

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termination.

      135. Defendants have failed to make, keep, and preserve accurate time

records with respect to each of its employees sufficient to determine their

wages, hours, and other conditions of employment in violation of the FLSA

29 USC 201 et. seq., including 29 USC Sec. 211(c) and 215 (a).

      136. Alternatively, even if Defendants paid Plaintiffs and the class of

similarly situated on a salary basis, Defendants knew or should have known

that the act of paying Plaintiffs and all inside sales representatives on a salary,

exempt basis without overtime pay, is unlawful and evades the wage and hour

requirements of the FLSA such that a 3 year statute of limitations applies.

      137. Defendants knew and had reason to know, that overtime wages

are to be paid at one and one half times the employees’ regular rates of pay to

include all compensation earned but, as a means to save hundreds of millions

of dollars in labor costs, willfully chose to either misclassify the inside sales

rep position as exempt or simply chose to institute policies, procedures and

practices which both discouraged employees against making a claim for

overtime pay and by not themselves paying overtime wages when they knew

or should have known employees were working overtime without being paid

for all hours worked.

      138. Here, Plaintiff and the inside sales representatives are not

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technically working “off the clock” as Defendants never had any time clock,

but, Defendants did maintain a De Facto unwritten policy which was that any

submission or claim for overtime would result in disciplinary action, scrutiny

and termination of employment, and that the employees were expected to meet

their quotas and goals regardless of the hours necessary or they would be fired.

      139. Again, Defendants were well aware that in order to meet quotas

and goals, inside sales representatives would have to routinely or even

occasionally work overtime hours, and that the inside sales rep position was

simply not a 40 hour per week job.

      140. Upon information and belief, even when Defendants did pay

overtime wages, they willfully underpaid ISR by failing to pay time and ½ of

each employee’s regular rates of pay by failing to include bonuses in the

calculations and rates paid.

      141. To summarize, Defendants have willfully and lacking in good

faith, violated the FLSA by the following unlawful pay practices applicable

to Plaintiffs and the class of similarly situated employees by: a) willfully

withholding payment of overtime wages when they knew or should have

known Plaintiffs and the class of inside sales representatives actually worked

over 40 hours; b) misleading and falsely advising Plaintiffs that they were not

entitled to overtime pay; while simultaneously discouraging ISR against

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reporting more than 40 hours; and c) not properly tracking and recording all

work hours of inside sales representatives; and d) even when paying overtime

wages, willfully underpaid employees by failing to include the value of

bonuses earned in the regular rate and thus the overtime rates of pay.

      142. Alternatively, Defendants have willfully violated the FLSA by

inside sales representatives as exempt in violation of the FLSA, as similarly,

no such exemption under the FLSA exists and they did not have a good faith

basis for misclassifying any inside sales representative as exempt under the

FLSA.

      143. Defendants have intentionally refused to notify their employees

that it has violated the FLSA by not paying overtime wages in the past, and

have intentionally misled employees about their rights under the FLSA as to

past overtime wages for overtime hours worked and about entitlement going

forward.

      144. As a result of Defendants willful violations of the FLSA, Plaintiff

and the proposed putative class, comprised of all other employees similarly

situated, have suffered economic damages by Defendants’ willful failure to

pay overtime compensation in accordance with FLSA §207 and unlawful pay

practices.

      145. Due to Defendants’ willful violations of the FLSA, a three-year

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statute of limitations applies to the FLSA violations pursuant to 29 U.S.C.

§255(a).

      146. As a result of Defendants’ unlawful acts and pay practices,

complained of herein, Plaintiff and all other similarly situated present and

former employees working as inside sales representatives under various job

titles, have been deprived of overtime compensation in amounts to be

determined at trial; and are entitled to recovery of such amounts, liquidated

damages in amount equal to the overtime wages due, prejudgment interest,

attorneys' fees, costs and other compensation pursuant to 29 U.S.C. §216(b),

as well as injunctive relief pursuant to 29 U.S.C. §217.

      WHEREFORE, Plaintiff, individually, and on behalf of all other

similarly situated past and present inside sales representatives who worked for

Defendants in the 3 years preceding the filing of this complaint to the present,

seek the following the following relief:

      a.    Designation of this action as a collective action.

      b.    That Plaintiff be authorized to give notice of this collective
            action, or that this Court issue such notice at the earliest possible
            time; to all past and present inside sales representatives employed
            by SAGE at any time during the three (3) year period
            immediately preceding the filing of this suit, through and
            including the date of this Court's issuance of the Court Supervised
            Notice for each respective class;

      c.    Designate the Named Plaintiff as Representatives of the

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       Collective Class for purposes of engaging in mediation, with the
       authority to execute any Collective Class settlement agreement
       the parties might reach, which is subject to Court’s approval
       before making any such agreement binding.

 d.    That all past and present inside sales representatives be informed
       of the nature of this collective action, and similarly situated
       employee's right to join this lawsuit if they believe that they were
       or are misclassified as an exempt employee;

 e.    That the Court find and declare Defendants in violation of the
       overtime compensation provisions of the FLSA;

 f.    That the Court find and declare Defendants’ violations of the
       FLSA were and are willful;

 g.    That the Court enjoin Defendants, under to 29 U.S.C. § 217, from
       withholding future payment of overtime compensation owed to
       members of the Plaintiff Class.

 h.    That the Court award to Plaintiff and the Plaintiff Classes,
       comprised of all similarly situated employees, overtime
       compensation at a rate of one and one half time their regular rates
       of pay, including the value of all compensation earned, for
       previous hours worked in excess of forty (40) for any given week
       during the past three years AND liquidated damages of an equal
       amount of the overtime compensation, in addition to penalties
       and interest on said award pursuant to FLSA §216 and all other
       related economic losses;

 i.    That the Court award Plaintiff and all other persons who opt into
       this action, recovery of their reasonable attorneys' fees and costs
       and expenses of litigation pursuant to FLSA § 216, including
       expert fees;

 j.    That the Court award Plaintiff a Class Representative service fee
       award for the justice they sought out for so many and their
       services in this case as representatives for the putative class and
       to their counsel;

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     k.      That the Court issue in order of judgment under 29 U.S.C 216-
             17, 28 U.S.C. 2201 and 2202 finding that the Defendants
             unlawfully and willfully violated the FLSA by failing to pay
             overtime wages and failing to properly and willfully failing to
             accurately record all hours worked of non-exempt employees, as
             well as issue an INJUNCTION barring the Defendants from
             further violating the FLSA;

     l.      That the Court Award Pre-judgment and post-judgment interest,
             as provided by law, and;

     m.      That the Court award any other legal and equitable relief as this
             Court may deem appropriate, including the value of underpaid
             matching funds in company pension or 401k plans.

                      DEMAND FOR JURY TRIAL

     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,

Plaintiffs demand a trial by jury on all questions of fact raised by this

Complaint.


      Dated: April 4, 2021

                                           Respectfully submitted by:

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